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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS


      UNITED STATES OF AMERICA,                        )
                                                       )
                           Plaintiff,                  )
                                                       )
                    v.                                 )
                                                       )      Case No. 07-20100
      JESUS GABRIEL GANDARA                            )               12-2215
      ESCARCEGA                                        )
                                                       )
                           Defendant.                  )
                                                       )
                                                       )



                           MEMORANDUM AND ORDER

      This matter is presently before the court on defendant Jesus Gabriel Gandara

Escarcega’s pro se motion to vacate, set aside, or correct his sentence pursuant to 28

U.S.C. § 2255 (doc. 247). For the reasons set forth below, that motion is dismissed.

      Mr. Gandara Escarcega pleaded guilty to conspiracy to distribute and possession

with intent to distribute more than 1000 kilograms of marijuana and more than 5

kilograms of cocaine (doc. 51). The defendant signed a plea agreement, in which he

waived his right to challenge his conviction through a motion brought pursuant to 28

U.S.C. § 2255, except as limited by United States v. Cockerham, 237 F.3d 1179, 1187

(10th Cir. 2001). On October 19, 2009, the court imposed a sentence of 120 months

imprisonment pursuant to the statutory mandatory minimum (doc. 221).




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         In the instant motion, Mr. Gandara Escarcega offers two propositions of error in

support of his § 2255 motion. First, he contends that his attorney was ineffective for

failing to instruct him to voluntarily consent to deportation. Mr. Gandara Escarcega

claims that had he voluntarily consented to deportation, he would have been eligible for a

one or two level downward departure pursuant to a United States Attorney General

memorandum dated April 28, 1995. Second, Mr. Gandara Escarcega contends that the

sentencing court’s authority to provide for deportation as a condition of supervised

release pursuant to 18 U.S.C. § 3583(d) is a violation of the Fifteenth Amendment to the

United States Constitution.

         In response, the government contends that Mr. Gandara Escarcega’s § 2255

motion is time-barred, or, in the alternative, that each of the defendant’s claims lack

merit.

1. Timeliness—Limitations Period

         A defendant’s § 2255 motion is governed by the Antiterrorism and Effective

Death Penalty Act (“AEDPA”), which establishes a one-year limitations period for

federal prisoners seeking habeas relief. Under 28 U.S.C. § 2255(f), a criminal defendant

may file a habeas petition one year from the latest of four circumstances:

         (1) the date on which the judgment of conviction becomes final;

         (2) the date on which the impediment to making a motion created by
         governmental action in violation of the Constitution or laws of the United
         States is removed, if the movant was prevented from making a motion by
         such governmental action;




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       (3) the date on which the right asserted was initially recognized by the
       Supreme Court, if that right has been newly recognized by the Supreme
       Court and made retroactively applicable to cases on collateral review; or

       (4) the date on which the facts supporting the claim or claims presented
       could have been discovered through the exercise of due diligence.

28 U.S.C. § 2255(f).

       Here, Mr. Gandara Escarcega does not assert that governmental action impeded

his filing a § 2255 motion, that he has a right newly recognized and made retroactively

applicable by the Supreme Court, nor that that the facts supporting his claims could not

have been discovered through the exercise of due diligence. As such, the one-year

limitation period began to run on the date on which Mr. Gandara Escarcega’s judgment

of conviction became final.

       Where a defendant files an appeal, his conviction becomes final “when the time

expires for filing a petition for certiorari contesting the appellate court’s affirmation of the

conviction.” Clay v. United States, 537 U.S. 522, 525 (2003). Where a defendant does

not file an appeal, his conviction becomes final on the date when the time for filing an

appeal expires. United States v. Prows, 448 F.3d 1223, 1227-28 (10th Cir. 2006). A

criminal defendant must file a notice of appeal within fourteen days of judgment. Fed. R.

App. P. 4(b)(1)(A).

       Here, judgment was entered against Mr. Gandara Escarcega on October 20, 2009

(doc. 221). The defendant did not file a direct appeal. Thus, his judgment became final

on November 3, 2009—fourteen days after entry of judgment. Mr. Gandara Escarcega

should have filed a § 2255 motion by November 3, 2010. He failed to do so and now is


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time-barred from filing a habeas petition in the absence of showing justification for

equitable tolling of the one-year limitation period.

2. Equitable Tolling

       AEDPA’s one-year limitation period may be tolled for equitable reasons, but only

“in rare and exceptional circumstances.” Gibson v. Klinger, 232 F.3d 799, 808 (10th Cir.

2000). Generally, equitable tolling is appropriate if the movant shows both “that he has

been pursuing his rights diligently” and “that some extraordinary circumstance stood in

his way” and prevented him from filing in a timely manner. Pace v. DiGuglielmo, 544

U.S. 408, 418 (2005). To show due diligence, the movant must “allege with specificity

‘the steps he took to diligently pursue his federal claims.’” Yang v. Archuleta, 525 F.3d

925, 930 (10th Cir. 2008) (quoting Miller v. Marr, 141 F.3d 976, 978 (10th Cir. 1998)).

Excusable neglect, however, does not support equitable tolling. See Gibson, 232 F.3d at

808. Equitable tolling also may be appropriate if the movant is actually innocent. See id.

Finally, a movant bears the burden of demonstrating that equitable tolling is appropriate

in this action. See Miller, 141 F.3d at 977.

A. Extraordinary Circumstances

       In his reply, Mr. Gandara Escarcega asserts that equitable tolling is appropriate as

he is ignorant of the law, does not “know” the English language, and had no access to a

Spanish-speaking person to aid in preparation of his § 2255 motion. The Tenth Circuit

has addressed, and rejected, each of the claims as constituting extraordinary

circumstances warranting equitable tolling of the § 2255 limitations period. In Marsh v.

Soares, the Tenth Circuit explained: “[I]t is well established that ‘ignorance of the law,

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even for an incarcerated pro se petitioner, generally does not excuse prompt filing.’” 223

F.3d 1217, 1220 (10th Cir. 2000) (quoting Fisher v. Johnson, 174 F.3d 710, 714 (5th Cir.

1999)); Yang, 525 F.3d at 929 (ignorance of the law not extraordinary whether or not

movant has a deficit with the English language). Lack of proficiency in the English

language is not an extraordinary circumstance warranting equitable tolling.1 Yang v.

Archuleta, 525 F.3d at 929-30 (citing Turner v. Johnson, 177 F.3d 390, 392 (5th Cir.

1999)); see Gomez v. Leyba, 242 Fed. App’x 492 (10th Cir. 2007) (same). Finally, a

defendant is not entitled to legal materials in Spanish or a Spanish-speaking law clerk to

aid in preparation of a § 2255 motion. Yang, 525 F.3d at 529-30; Gibson v. Klinger, 232

F.3d 799, 808 (10th Cir. 2000).

       As such, Mr. Gandara Escarcega has failed to show extraordinary circumstances

warranting tolling of the § 2255 limitations period.

B. Diligence

       Mr. Gandara Escarcega must allege with specificity “the steps he took to diligently

pursue his federal claims.” Yang, 525 F.3d at 930 (quoting Miller, 141 F.3d at 978). He



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 The Tenth Circuit cautioned:
       We have yet to confront a situation where the record has supported a
       petitioner's claim of a severe language impediment and diligent efforts to
       overcome his or her impediment. Thus, in no instance have we found a
       language barrier justifying equitable tolling. Because Yang has not
       proffered a factual basis justifying an exploration into whether a language
       barrier can ever be a contributing component warranting equitable tolling,
       we need not decide that issue here.
Yang, 525 F.3d at 930 n.9. As in Yang, Mr. Gandara Escarcega has failed to show a
severe language impediment and diligent efforts to overcome his impediment.

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offers no suggestion as to how he pursued his claims or whether he sought assistance to

overcome his language barrier.

       As such, Mr. Gandara Escarcega failed to demonstrate the exercise of diligence

warranting tolling of the § 2255 limitations period.

C. Actual Innocence

       Under certain circumstances, a claim of actual innocence may be a ground for

equitable tolling of the one-year limitation period. See Gibson v. Klinger, 232 F.3d 799,

808 (10th Cir. 2000). To establish a credible claim of actual innocence, a petitioner must

support his claim with “new reliable evidence—whether it be exculpatory scientific

evidence, trustworthy eyewitness accounts, or critical physical evidence—that was not

presented at trial,” Schlup v. Delo, 513 U.S. 298, 324 (1995), and show “that it is more

likely than not that no reasonable juror would have convicted him in the light of the new

evidence.” Id. at 327.

       In his reply, Mr. Gandara Escarcega does not advance a claim of actual innocence.

He states that there are “grade[s] of culpability,” but offers no factual basis suggesting

that he is innocent of the crime charged. Thus, the court find that equitable tolling is not

appropriate in this action under the basis of actual innocence.

3. Conclusion

       As Mr. Gandara Escarcega filed his § 2255 petition outside the one year

limitations period, and equitable tolling is not warranted in this action, his motion is time-

barred under § 2255(f). Thus, the defendant’s § 2255 petition (doc. 247) is dismissed as

untimely.

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      IT IS THEREFORE ORDERED BY THE COURT that defendant’s Motion to

Vacate Sentence Pursuant to 28 U.S.C. § 2255 (doc. 247) is dismissed as untimely.



      IT IS SO ORDERED this 5th day of July, 2012.



                                        s/ John W. Lungstrum
                                        John W. Lungstrum
                                        United States District Judge




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